Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 1 of 9 Page ID
                                 #:109328
Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 2 of 9 Page ID
                                 #:109329
Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 3 of 9 Page ID
                                 #:109330
Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 4 of 9 Page ID
                                 #:109331
Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 5 of 9 Page ID
                                 #:109332
Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 6 of 9 Page ID
                                 #:109333
Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 7 of 9 Page ID
                                 #:109334
Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 8 of 9 Page ID
                                 #:109335
Case 2:04-cv-09049-DOC-RNB Document 4315-16 Filed 09/30/08 Page 9 of 9 Page ID
                                 #:109336
